UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


ROMAN TAFFESE,

                                           Plaintiff,
                                                            FOURTH AMENDED SCHEDULING
vs.                                                                  ORDER

CITY OF BUFFALO, CITY OF BUFFALO                             Case No. 1:20-cv-00548-LJV-LGF
POLICE OFFICER COURTNEY HALLIGAN,
CITY OF BUFFALO POLICE OFFICER
STEPHEN LESNIAK, CITY OF BUFFALO
POLICE OFFICER MARK VARA, CITY OF
BUFFALO POLICE OFFICER NICHOLAS
YANT, CITY OF BUFFALO POLICE OFFI-
CER JENNIFER ZHANGI, CITY OF BUF-
FALO POLICE OFFICER JOHN/JANE
DOES #1-1 O (fictitiously named), individually,
ERIE COUNTY, JOHN/JANE DOES #1-10,
Erie County District Attorney (fictitiously
named), individually, and ROBERT RENNER,

                                           Defendants.


        The Third Amended Scheduling Order filed April 7, 2022 (Dkt. 67) is amended

as follows:

        l.        In accordance with Section 2.IA of the Plan for Alternative Dispute Resolution1,

this case has been referred to mediation.

        2.       All fact discovery in this case shall conclude on June 16, 2023. All motions to

compel fact discovery shall be filed on or before: September 1, 2023.

        3.       Plaintiff shall identify any expert witnesses through interrogatories and provide

reports pursuant to Fed.R.Civ.P. 26 by October 27, 2023. Defendants shall identify any expert



1
 A copy of the ADR Plan, a list of ADR Neutrals, and related forms and documents can be found at
http.//www.nywd,uscourts.gov or obtained from the Clerk's Office.

                                                        1
witnesses through interrogatories and provide reports pursuant to Fed.R.Civ.P. 26 by December

22, 2023. Motions to compel expert disclosure shall be filed not later than February 9, 2024.

Such motions shall be made returnable before the undersigned.

       4.       Dispositive motions, if any, shall be filed no later than April 7, 2024.

       5.      Mediation sessions may continue in accordance with Section 4.2A of the ADR

Plan, until May 10, 2024. The continuation of mediation sessions shall not delay or defer any

other dates set forth in this Scheduling Order.

       6.      In the event that no dispositive motions are filed, a final pretrial status conference

is scheduled for             at    before the undersigned.

       No extension of the above cutoff dates will be granted except upon written application to

the undersigned, filed prior to the cutoff date, showing good cause for the extension. The

attached guidelines shall govern all depositions. Counsel's attention is directed to Fed.R.Civ.P.

16(f) calling for sanctions in the event of failure to comply with any direction of this court.

SO ORDERED.


                                                           LESLIE G. FOSCHIO
                                                      UNITED STATES MAGISTRATE JUDGE

Dated: October _, 2022
       Buffalo, New York




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